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                                                      DOC #:
UNITED STATES DISTRICT COURT                          DATE FILED: 02/21/2020
SOUTHERN DISTRICT OF NEW YORK

____________________________________________

SOMERA CAPITAL MANAGEMENT, LLC,
                                                          Case No.: 19-CV-8291 (GHW) (GWG)

        Plaintiff,
                                                          STIPULATED CONFIDENTIALITY
 v.                                                       AGREEMENT AND PROTECTIVE
                                                          ORDER
SOMERA ROAD, INC.,

        Defendant.



GREGORY H. WOODS, District Judge:

       WHEREAS, all of the parties to this action (collectively, the “Parties” and each

individually, a “Party”) request that this Court issue a protective order pursuant to Federal Rule of

Civil Procedure 26(c) to protect the confidentiality of nonpublic and competitively sensitive

information that they may need to disclose in connection with discovery in this action;

       WHEREAS, the Parties, through counsel, agree to the following terms; and

       WHEREAS, this Court finds that good cause exists for issuance of an appropriately tailored

confidentiality order governing the pretrial phase of this action;

       IT IS HEREBY ORDERED that the Parties to this action, their respective officers, agents,

servants, employees, and attorneys, any other person in active concert or participation with any of

the foregoing, and all other persons with actual notice of this Order will adhere to the following

terms, upon pain of contempt:

       1. With respect to “Discovery Material” (i.e., information of any kind produced or

disclosed in the course of discovery in this action) that a person has designated as “Confidential”
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pursuant to this Order, no person subject to this Order may disclose such Confidential Discovery

Material to anyone else except as expressly permitted hereunder:

       2. The Party or person producing or disclosing Discovery Material (each,“Producing

Party”) may designate as Confidential only the portion of such material that it reasonably and in

good faith believes consists of:

               (a) previously non-disclosed financial information (including without limitation

profitability reports or estimates, percentage fees, design fees, royalty rates, minimum guarantee

payments, sales reports, and sale margins);

               (b) previously non-disclosed material relating to ownership or control of any

non-public company;

               (c) previously non-disclosed business plans, product-development information,

or marketing plans;

               (d) any information of a personal or intimate nature regarding any individual; or

               (e) any other category of information given confidential status by this Court after

the date of this Order.

       3. With respect to the Confidential portion of any Discovery Material other than deposition

transcripts and exhibits, the Producing Party or its counsel may designate such portion as

“Confidential” by: (a) stamping or otherwise clearly marking as “Confidential” the protected

portion in a manner that will not interfere with legibility or audibility; and (b) producing for future

public use another copy of said Discovery Material with the confidential information redacted.

       4. A Producing Party or its counsel may designate deposition exhibits or portions of

deposition transcripts as Confidential Discovery Material either by: (a) indicating on the record

during the deposition that a question calls for Confidential information, in which case the reporter



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will bind the transcript of the designated testimony in a separate volume and mark it as

“Confidential Information Governed by Protective Order;” or (b) notifying the reporter and all

counsel of record, in writing, within 30 days after a deposition has concluded, of the specific pages

and lines of the transcript that are to be designated “Confidential,” in which case all counsel

receiving the transcript will be responsible for marking the copies of the designated transcript in

their possession or under their control as directed by the Producing Party or that person’s counsel.

During the 30-day period following a deposition, all Parties will treat the entire deposition

transcript as if it had been designated Confidential.

       5. If at any time before the termination of this action a Producing Party realizes that it

should have designated as Confidential some portion(s) of Discovery Material that it previously

produced without limitation, the Producing Party may so designate such material by notifying all

Parties in writing. Thereafter, all persons subject to this Order will treat such designated portion(s)

of the Discovery Material as Confidential. In addition, the Producing Party shall provide each other

Party with replacement versions of such Discovery Material that bears the “Confidential”

designation within two business days of providing such notice.

       6. Nothing contained in this Order will be construed as: (a) a waiver by a Party or person

of its right to object to any discovery request; (b) a waiver of any privilege or protection; or (c) a

ruling regarding the admissibility at trial of any document, testimony, or other evidence.

       7. Where a Producing Party has designated Discovery Material as Confidential, other

persons subject to this Order may disclose such information only to the following persons:

               (a) the Parties to this action, their insurers, and counsel to their insurers;

               (b) counsel retained specifically for this action, including any paralegal, clerical, or

other assistant that such outside counsel employs and assigns to this matter;



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               (c) outside vendors or service providers (such as copy-service providers and

document-management consultants) that counsel hire and assign to this matter;

               (d) any mediator or arbitrator that the Parties engage in this matter or that this Court

appoints, provided such person has first executed a Non-Disclosure Agreement in the form

annexed as Exhibit A hereto;

               (e) as to any document, its author, its addressee, and any other person indicated on

the face of the document as having received a copy;

               (f) any witness who counsel for a Party in good faith believes may be called to

testify at trial or deposition in this action, provided such person has first executed a Non-Disclosure

Agreement in the form annexed as Exhibit A hereto;

               (g) any person a Party retains to serve as an expert witness or otherwise provide

specialized advice to counsel in connection with this action, provided such person has first

executed a Non-Disclosure Agreement in the form annexed as Exhibit A hereto;

               (h) stenographers engaged to transcribe depositions the Parties conduct in this

action; and

               (i) this Court, including any appellate court, its support personnel, and court

reporters.

       8. Before disclosing any Confidential Discovery Material to any person referredto in

subparagraphs 7(d), 7(f), or 7(g) above, counsel must provide a copy of this Order to such person,

who must sign a Non-Disclosure Agreement in the form annexed as Exhibit A hereto stating that

he or she has read this Order and agrees to be bound by its terms. Said counsel must retain each

signed Non-Disclosure Agreement, hold it in escrow, and produce it to opposing counsel either




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before such person is permitted to testify (at deposition or trial) or at the conclusion of the case,

whichever comes first.

       9. This Order binds the Parties and certain others to treat as Confidential any Discovery

Materials so classified. The Court has not, however, made any finding regarding the confidentiality

of any Discovery Materials, and retains full discretion to determine whether to afford confidential

treatment to any Discovery Material designated as Confidential hereunder. All persons are placed

on notice that the Court is unlikely to seal or otherwise afford confidential treatment to any

Discovery Material introduced into evidence at trial, even if such material has previously been

sealed or designated as Confidential.

       10. In filing Confidential Discovery Material with this Court, or filing portions of any

pleadings, motions, or other papers that disclose such Confidential Discovery Material

(“Confidential Court Submission”), the Parties shall publicly file a redacted copy of the

Confidential Court Submission via the Electronic Case Filing System. In accordance with Rule

4(A) of the Court’s Individual Rules of Practice in Civil Cases, the Parties shall file an unredacted

copy of the Confidential Court Submission under seal with the Clerk of this Court, and the Parties

shall serve this Court and opposing counsel with unredacted courtesy copies of the Confidential

Court Submission. In accordance with Rule 4(A) of this Court’s Individual Rules of Practice in

Civil Cases, any Party that seeks to file Confidential Discovery Material under seal must file an

application and supporting declaration justifying—on a particularized basis—the sealing of such

documents. The parties should be aware that the Court will unseal documents if it is unable to

make “specific, on the record findings . . . demonstrating that closure is essential to preserve higher

values and is narrowly tailored to serve that interest.” Lugosch v. Pyramid Co. of Onondaga, 435

F.3d 110, 120 (2d Cir. 2006).



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         11. Any Party who objects to any designation of confidentiality may at any time before the

trial of this action serve upon counsel for the Producing Party a written notice stating with

particularity the grounds of the objection. If the Parties cannot reach agreement promptly, counsel

for all affected Parties will address their dispute to this Court in accordance with paragraph 2(C)

of this Court’s Individual Practices.

         12. Any Party who requests additional limits on disclosure (such as “attorneys’ eyes only”

in extraordinary circumstances), may at any time before the trial of this action serve upon counsel

for the recipient Parties a written notice stating with particularity the grounds of the request. If the

Parties cannot reach agreement promptly, counsel for all affected Parties will address their dispute

to this Court in accordance with Rule 2(C) of this Court’s Individual Rules of Practice in Civil

Cases.

         13. Recipients of Confidential Discovery Material under this Order may use such material

solely for the prosecution and defense of this action and any appeals thereto, and not for any other

purpose or in any other litigation proceeding. Nothing contained in this Order, however, will affect

or restrict the rights of any Party with respect to its own documents or information produced in

this action.

         14. Nothing in this Order will prevent any Party from producing any Confidential

Discovery Material in its possession in response to a lawful subpoena or other compulsory process,

or if required to produce by law or by any government agency having jurisdiction, provided that

such Party gives written notice to the Producing Party as soon as reasonably possible, and if

permitted by the time allowed under the request, at least 10 days before any disclosure. Upon

receiving such notice, the Producing Party will bear the burden to oppose compliance with the




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subpoena, other compulsory process, or other legal notice if the Producing Party deems it

appropriate to do so.

         15. Each person who has access to Discovery Material designated as Confidential pursuant

to this Order must take all due precautions to prevent the unauthorized or inadvertent disclosure

of such material.

         16. Within 60 days of the final disposition of this action—including all appeals—all

recipients of Confidential Discovery Material must either return it—including all copies thereof—

to the Producing Party, or, upon permission of the Producing Party, destroy such material—

including all copies thereof. In either event, by the 60-day deadline, the recipient must certify its

return or destruction by submitting a written certification to the Producing Party that affirms that

it has not retained any copies, abstracts, compilations, summaries, or other forms of reproducing

or capturing any of the Confidential Discovery Material. Notwithstanding this provision, the

attorneys that the Parties have specifically retained for this action may retain an archival copy of

all pleadings, motion papers, transcripts, expert reports, legal memoranda, correspondence, or

attorney work product, even if such materials contain Confidential Discovery Material. Any such

archival copies that contain or constitute Confidential Discovery Material remain subject to this

Order.

         17. This Order will survive the termination of the litigation and will continue to be binding

upon all persons subject to this Order to whom Confidential Discovery Material is produced or

disclosed.

         18. This Court will retain jurisdiction over all persons subject to this Order to the extent

necessary to enforce any obligations arising hereunder or to impose sanctions for any contempt

thereof.



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      SO STIPULATED AND AGREED:

Dated: New York, New York               FAEGRE DRINKER BIDDLE & REATH LLP
       February 19, 2020
                                               /s/ Thuy T. Bui
                                        Thuy T. Bui
                                        1177 Avenue of the Americas, 41st Floor
                                        New York, NY 10036-2714
                                        Tel: (212) 248-3140
                                        thuy.bui@dbr.com

                                        Brian A. Coleman (pro hac vice)
                                        FAEGRE DRINKER BIDDLE & REATH LLP
                                        1500 K Street, N.W.
                                        Suite 1100
                                        Washington, DC 20005
                                        (202) 842-8800
                                        (202) 842-8465 (facsimile)

                                        Attorneys for Plaintiff


Dated: New York, New York               EPSTEIN BECKER & GREEN, P.C.
       February 19, 2020
                                                /s/ Anthony J. Laura
                                        Anthony J. Laura
                                        Matthew Savage Aibel
                                        One Gateway Center
                                        Newark, NJ 07102
                                        Tel: (973) 642-1900
                                        Fax: (973) 642-0099

                                        Constance R. Lindman (pro hac vice)
                                        Frost Brown Todd LLC
                                        201 N. Illinois St. Suite 1900
                                        Indianapolis, IN 46204
                                        Tel: (317) 237-3800
                                        Fax: (317) 237-3900
                                        Attorneys for Defendant


      SO ORDERED.



        February 21, 2020
Dated: _______________                  _____________________________________
New York, New York                            GREGORY H. WOODS
                                             United States District Judge

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                                                                                            Exhibit A
                                                                          to Stipulated Confidentiality
                                                                      Agreement and Protective Order

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------- X
                                                                  :
SOMERA CAPITAL MANAGEMENT, LLC,                                   :
                                                                  :
                                                  Plaintiff,      :           1:19-cv-8291-GHW
                                                                  :
                              -v -                                :         NON-DISCLOSURE
                                                                  :           AGREEMENT
SOMERA ROAD, INC.                                                 :
                                                                  :
                                                   Defendant. :
                                                                  :
----------------------------------------------------------------- X

                  I, _______________________________, acknowledge that I have read and

understand the Protective Order in this action governing the non-disclosure of those portions of

Discovery Material that have been designated as Confidential. I agree that I will not disclose such

Confidential Discovery Material to anyone other than for purposes of this litigation and that at the

conclusion of the litigation I will return all discovery information to the Party or attorney from

whom I received it. By acknowledging these obligations under the Protective Order, I understand

that I am submitting myself to the jurisdiction of the United States District Court for the Southern

District of New York for the purpose of any issue or dispute arising hereunder and that my willful

violation of any term of the Protective Order could subject me to punishment for contempt of

Court.


                                                                  ______________________________
                                                                  Name:
                                                                  Date:
